Case 2:18-cv-02505-NIQA Document 254-8 Filed 02/14/22 Page 1 of 2
                                                                                                    EXHIBIT H
       From:              Courtney Yldales
       To:                Harrinaton Patrick M·              Justin Kaufman·
       Cc:                Titter-Unale Jessica L · McMichael Lawrence G· Ford Ilmothv J
       SUbject:           RE: Nupson v. Schnader, et al. (Defendants" Expert Witness Disclosures)
       Date:              Wednesday, January 26, 2022 8:06:00 AM


       Patrick,


       Thank you for providing these documents. It is much appreciated. However, would you please
       identify the Bates Nos. for documents 2 and 152 on Fen n's Appendix B. Without the Bates numbers,
       we are unable to locate them in the voluminous discovery documents and the versions you provided
       do not have a Bates Number listed on them.


       Also, in reviewing Pam Schneider's report we are unable to locate, and no Bates Numbers are
       identified in her report, documents 16, 19, 27, and 186. If you would please identify the bates
       numbers or produce the same documents reviewed by your expert.


       Thank you,


       Courtney Johnson Vidales, Esq.
       Mucci Law Firm
       1600 Rio Grande Blvd . NW
       Albuquerque, NM 87104
       courtney@muccilaw com
       Office: (SOS) 247-2211




       From: Harrington, Patrick M.<pharrington@dilworthlaw.com>
       Sent: Thursday, January 20, 2022 10:59 AM
       To: Tom Mucci <tom@muccilaw.com>; Justin Kaufman <jkaufman@dpslawgroup.com>; Brian
       Gordon <briangordon249@gmail.com>; Ben Davis <bdavis@daviskelin.com>; Courtney Vidales
       <courtney@muccilaw.com>
       Cc: Titler-Lingle, Jessica L.<jtitler-lingle@dilworthlaw.com>; McMichael, Lawrence G.
       <lmcmichael@dilworthlaw.com>; Ford, Timothy J. <tford@dilworthlaw.com>
       Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

       I'm using Mimecast to share large files with you. Please see the attached instructions.


       Courtney:
       Attached, please find installment 2 of2 of the highlighted documents in Appendix B. Please note
       that with regard to no. 145, "Capital IQ" is an online database which provides financial data that
       links to certain of our expert's models via formulas. Capital IQ is more of a source than a specific
       file. By way of example, your Stout report references Capital IQ as a source on many of their
       exhibits but not in their list of information considered.
       Patrick

       PATRICK liARRfNGTON     I DILWORTH P AXSON LLP
Case 2:18-cv-02505-NIQA Document 254-8 Filed 02/14/22 Page 2 of 2

     1500 Market Street I Suite 3500E I Philadelphia, PA 19102
     Tel: (215) 575-7236 I Cell: (609) 276-6564 I Fax: (215) 754-4603
     pharrington@di)wonh)aw com I www dilworth)aw com

     From: Courtney Vidales [mailto·courtney@muccilaw com]
     Sent: Tuesday, January 18, 2022 5:53 PM
     To: Harrington, Patrick M.; Ben Davis; Brian Gordon; Tom Mucci; Justin Kaufman
     Cc: Titler-Lingle, Jessica L.; Ford, Timothy J.; McMichael, Lawrence G.
     Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

     Patrick,


     Would you please provide copies of the highlighted items on the attached Appendix B of Finn's
     report. We were able to locate the items that are not highlighted. If the items were produced in
     discovery, please identify the Bates Numbers.


     Thank you,



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     From: Harrington, Patrick M . <pharrington@dilworthlaw com>
     Sent: Friday, January 14, 2022 3:00 PM
     To: Ben Davis <bdayjs@dayjskelio com>; Brian Gordon <briangordon249@gmail com>; Courtney
     Vidales <courtney@muccjlaw com>; Tom Mucci <tom@muccilaw com>; Justin Kaufman
     <jkaufman@dpslawgroup com>
     Cc: Titler-Lingle, Jessica L. <jtjtler-liogle@dilworthlaw com>; Ford, Timothy J.
     <tford@dilworthlaw com>; McMichael, Lawrence G. <lmcmichael@dilworthlaw com>
     Subject: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

     I'm using Mimecast to share large files with you. Please see the attached instructions.


     Counsel:
     Attached, please find copies of Defendants' Expert Witness Disclosures, which are being produced
     subject the confidentiality order in this matter, and a certificate of service regarding the same.
     Be well ,
     Patrick

     PATRICK HARRINGTON     I DILWORTH PAXSON LLP
     1500 Market Street/ Suite 3500E / Philadelphia, PA 19102
